
ON PETITION FOR REHEARING
Appellants contend that contrary to the factual situation set out in our opinion, the trial court did not hear oral argument on plaintiff-appellee’s motion to vacate transfer order. Although the order vacating the previous transfer order recites that argument was heard, the record demonstrates to the contrary. Therefore, we modify our opinion to reflect this fact by deletion on page 2 of the words “Oral argument was heard on this motion. . . ”
Nevertheless, the record does reflect a hearing was held on appellants’ petition for rehearing of the motion to vacate the transfer order and thereafter the trial judge denied the petition. We adhere to the opinion filed in this cause and deny the petition for rehearing.
